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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAII

JAMIE WILLIAMS,                            CIVIL NO. 23-cv-00028-LEK-KJM

        Plaintiff,                            STATEMENT IN SUPPORT OF
v.                                            WILLIAMS PLAINTIFFS’ MOTION
                                              TO EXTEND STAY OF
UNITED STATES OF AMERICA,                     DEPOSITIONS FOR 45 DAYS, ECF
                                              No. 71
        Defendant.
                                              TRIAL DATE: November 17, 2025
                                              JUDGE: Hon. Leslie E. Kobayashi


                       Caption continues on the following page.



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PATRICK FEINDT, JR. et al.,                CIVIL NO. 22-cv-00397-LEK-KJM

        Plaintiffs,                        ECF No. 612

v.                                         FIRST BELLWETHER TRIAL
                                           DATE: April 29, 2024
UNITED STATES OF AMERICA,                  TIME: 8:30 a.m.
                                           JUDGE: Hon. Leslie E. Kobayashi
        Defendant.

JESSICA WHALEY, et al,                     CIVIL NO. 24-cv-00457-LEK-KJM

       Plaintiffs,                         ECF No. 214

v.

UNITED STATES OF AMERICA,

       Defendant.

JACLYN HUGHES, et al,                      CIVIL NO. 24-cv-00059-LEK-KJM

       Plaintiffs,                         ECF No. 185

v.

UNITED STATES OF AMERICA,

       Defendant.

ELISAPETA ALAIMALEATA, et               CIVIL NO. 23-cv-00164-LEK-KJM
al,
                                           ECF No. 80
       Plaintiffs,
                                           TRIAL DATE: February 16, 2026
v.                                         JUDGE: Hon. Leslie E. Kobayashi

UNITED STATES OF AMERICA,

       Defendant.
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ARIANNA WYATT, et al,                          CIVIL NO. 23-cv-00065-LEK-KJM

         Plaintiffs,                           ECF No. 88
v.
                                               TRIAL DATE: August 18, 2025
UNITED STATES OF AMERICA,                      JUDGE: Hon. Leslie E. Kobayashi

         Defendant.


        STATEMENT IN SUPPORT OF MOTION TO EXTEND STAY

     The United States supports the motion to stay filed by the Williams Plaintiffs in

the above-captioned actions requesting an extension of the current stay of

depositions for an additional 45 days up to October 15, 2024, or until a decision in

the trial of Feindt v. United States, Civil no. 22-cv-00397 is issued, whichever

occurs first. This Court previously granted the United States’ Motion to Stay all

depositions until September 1, 2024, in the following pending Federal Tort Claims

Act (“FTCA”) cases: (1) Feindt v. United States, Civil No. 22-00397 LEK-KJM,

ECF No. 607; (2) Whaley v. United States, Civil No. 23-00457 LEK-KJM, ECF

No. 208; and (3) Hughes v. United States, Civil No. 24-00059 LEK-KJM, ECF No.

181; (4) Williams v. United States, Civil No. 23-00028 LEK-KJM, ECF No. 69; (5)

Wyatt v. United States, Civil No. 23-00065 LEK-KJM, ECF No. 85; (6)

Alaimaleata v. United States, Civil No. 23-00164 LEK-KJM, ECF No 76.




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   The United States does not oppose this motion and, to its knowledge based on

the parties’ L.R. 7.8 meet-and-confer on August 20, 2024, nor do the Plaintiffs in

the above-captioned actions.


Dated: August 30, 2024                Respectfully submitted,

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                                      General, Civil Division

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                          CERTIFICATE OF SERVICE

      I hereby certify that, on August 30, 2024, a true and correct copy of the

foregoing was filed and served on counsel of record via the U.S. District Court’s

CM/ECF electronic filing system.



                                             /s/ Anna Ellison
                                             Anna Ellison




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